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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

JOHN DOE # 1 and JOHN DOE # 2,
on behalf of themselves and all others
similarly situated,

Plaintiffs,
V.

)
)
)
)
)
) No. 3:23-cv-00154-OAW
)
EPIQ CORPORATE )
RESTRUCTURING, LLC, )
)
)

Defendant. October 19, 2023
PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF THE SETTLEMENT, APPROVAL
OF PLAN OF ALLOCATION, APPROVAL OF AWARD OF ATTORNEYS’ FEES AND
EXPENSES, AND APPROVAL OF SERVICE AWARDS FOR NAMED PLAINTIFFS,
AND MEMORANDUM OF LAW iN SUPPORT THEREOF

I. INTRODUCTION

Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, the Plaintiffs,
John Doe # 1 and John Doe # 2 (“Plaintiffs”), on behalf of themselves and the
Settlement Class, hereby respectfully submit this Memorandum of Law in support of
their Motion for Final Approval of the (1) Settlement, including Service Awards; (2)
Attorneys’ Fees and Litigation Expenses of Plaintiffs’ Counsel; (3) Plan for Distribution of
Net Settlement Fund; and (4) Service Awards for the Named Plaintiffs."

ll. PRELIMINARY STATEMENT

' Unless otherwise defined, all capitalized terms have the same meanings as set
for tin the Stipulation of Settlement (“Stipulation”), previously filed with this Court. In
addition, it should be noted that this Motion was meant to be filed no later than ten (10)
days prior to the Final Appreval Hearing, per the schedule contained in the Stipulation,
which should have been.on October 17, 2023. Plaintiffs’ counsel apologizes for the two
day tardiness of this filing, which was due to conflicts in other matters. Should the Court
decide that the Final Approval Hearing should be delayed two days to accommodate
this filing, or any concerns thereof, there will be no objection.

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The Plaintiffs have achieved an excellent resolution of this matter on behalf of all
Settlement Class Members. By way of background, the Plaintiffs, in common with the
other Settlement Class Members, are sexual abuse survivors who allege they were
abused as children at the hands of clergy members associated with The Norwich
Roman Catholic Diocesan Corporation [“Diocese”] and who filed claims for
compensation, through their counsel, Kelly E. Reardon, Esq. of The Reardon Law Firm,
P.C., in the Diocese’s Chiapter 41 Barikruptcy [hereinafter “Bankruptcy”] pending in the
United States Bankruptcy Court, District of Connecticut, 21-20687 (JJT).

On or about February 2, 2023, their names and addresses were publicly
disclosed by employees of the Defendant, Epiq, in an Affidavit of Service, despite a
Court Order in the Bankruptcy’ that required any filings that included information about
sexual abuse claimants to be‘kept’confidential. The disclosures were made on' various
platforms, including a case ‘website set up for public viewing. These names and
addresses were publicly available for a period of approximately 21 hours before they
were removed from view. —

The Plaintiffs filed a Complaint, on behalf of themselves and the other sexual
abuse claimants whose names were disclosed in the service list, for damages due to
the physical, psychological and economic harm they allege they endured due to that
disclosure. The Complaint included causes of action for negligence, gross negligence,
recklessness, intentional infliction of emotional distress, negligent infliction of emotional
distress, breach of fiduciary duty, invasion of privacy and violation of the Connecticut

Unfair Trade Practices Act. Epiq denies the Plaintiffs’ allegatioris.

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The Settlement of this action will resoive the claims of ali Settlement Class
Members — persons who filed proofs of claim in the Bankruptcy asserting claims against
the Diocese for sexual abuse'whose names were disclosed in the Affidavit of Service —
in exchange for a cash payment of $50,000 to each Settlement Class Member, less
Attorneys’ Fees anc Litigaticn Expenses approved by the Court. In addition, subject to
Court approval, Epiq has agreed to pay Service Awards to John Doe # 1 and John Doe
# 2 up to $75,000 each. '

The Settlement was reached:through extensive work and litigation, extensive
investigation on the part of Plaistiffs’ Counsel, inciuding interviews, depositions,
production of documents and review of documents, retention of experts, research and
strategy discussions. Motions were filed and briefed, opposing motions were filed and
briefed on a number of topics; and the strengths and weaknesses of the case were fully
evaluated. ' Plaintiffs’ Counse! has extensive experience in handling class action and
sexual abuse cases. -

- Negotiations were overseen by @ federal Magistrate Judge. A mediation
occurred with Hon. William |: Garfinkel, Recalled United States Magistrate Judge for the
District of Connecticut, on Juiy 13,2023. Plaintiffs’ Counsel, Plaintiffs, counsel for
numerous Settlement Class Members, Epiq’s Counsel, representatives of insurers for
Epig, and other interested parties were present. The negotiations took nearly nine (9)
hours before agreement was reached on the terms of a proposed resolution of the case.

Since the mediation, the parties ‘worked diligently to prepare a Stipulation

memorializing the Settlerhent: whic was filed on August 10; 2023 (No. 54), and held |

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numerous conferences with the Court to ensure that its terms, the Nctice provided to
Settlement Class Members and the Claims process were fair, reasonable and adequate.

On August 31, 2023, atter extensive discussions and consideration, the Court
granted the Plaintiffs’ Motion for Preliminary Approval of the Class Action Settlement
(No. 62), approved the Notice and Claim Form and authorized them to be sent out to
Settlement Ciass Members. By September 14, 2023, the Plaintiffs filed a
Declaration/Notice confirrhing mailing of Notices and Claim forms to Setilement Class
Members (No. 67). At-of the’date of this filing, 129 Settlement Class Members have
been identified, 128 of them have returned completed Claim Forms and one has not
been located despite vigercus and extensive efforts on the part of numerous attorneys
and private investigators. As-a result, one of the 129 Settlement Class Members has
not returned a Claim Form and all others have submitted Claim Forms and agreed to
participate in the Settlement. This provides substantial evidence that the Settlement
Class Members are in agreement that the terms and amount of the settlement are fair,
adequate and reasonable.

The Piaintiffs alsc request that the Court approve the distribution plan, which was
included in the Stipulation and Notice. The Plan governs how’claims will be paid and
distributed ta the Settlement Class Members. It is fair, reasonable and adequate and
should be approved.

Plaintiffs’ Counsel also respectfully applies for an award: of Attorneys’ Fees in the
amount of $140,712.50 and Litigation Expenses in the amount of $11,832.56. Plaintiffs’
Counsel's fee request, approved by the’ Plaintiffs, is within the range of fees awarded in

class actions around the country and constitutes just over 2% of the total settlement

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amount of $6,450,000 ($50,000 for each of the 129 Settlement Class Members) (not
including the $150,000 in Service Awards requested to be paic to the Named Plaintiffs).
This amount is reasonab'é and low when considering the outstanding result achieved ~
here, the fact of complete participation of ail Settlement Class Members and the fact
that Plaintiffs’ Counse! spent considerable time and effort to bring and resolve this case
in a timely and efficient manner. See Declaration of Plaintiffs’ Counsel, filed
simultaneously on this date. *’

lil. - THE NOTICE OF:PROPOSED SETTLEMENT SATISFIES RULE 23 AND
DUE PROCESS REQUIREMENTS AND IS REASONABLE

Rule 23(e) requires that a class action shall not be dismissed or compromised
without the approval of the Court and notice of the proposed dismissal or compromise
shall be given to all members of the class in such manner as the Court directs. As
stated in Eisen v. Carlisle & Japauens, 417 U.S. 156, 173 (1974), the Rule requires
‘best notice practicable under the circumstances, including individual notice to all
members who can be idéntified through reasonable efforts.” The notice must fairly
apprise the class membérs of the terms of the proposed settlement and options that are
open to them if they object or otherwise decide to opt-out. /d.

Here, in accordancé with thé Preliminary Approval Order, Notices and Claim
Forms were sent out by mail (or other means to ensure receipt) to all identified
Settlement Class Members (129 in total). See Declaration of Plaintiffs’ Counsel (No.
67). Notice was received by 128 of 129 Settlement Class Members. ‘One has not yet
been located despite’ ext3nsive efforts by two attorneys, family members and private
investigators. Efforts to locate that individual are ‘ongoing. Completed Claim Forms

were signed and returned by 128 of 129 Settlement Class Members, demonstrating that

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all of them received ares adequate, understandable notice and voluntarily agreed to
participate in the Settlement. These procecures satisfy the requirements of Rule
23(c)(2). See In re Mexico. Money Transfer Litig., 164 F. Supp. 2d 1002, 1032:33 (N.D.
Ill. 2000) (“The purpose of class notice . . . is to advise [settlement class members] of
the terms of the agreement which has been reached and provide those who disapprove
of those fertns an opportunity to object or opt out.”).

IV. THE PROPOSED SETTLEMENT IS FAIR, REASONABLE AND ADEQUATE

a. Settlements Are Generally Favored and Encouraged’

The Federal Rules of Civil Procedure provide that the Court should approve a
class action settlement if the Court finds it “fair, reasonable, and adequate.” Fed. R. Civ.
P. 23(e)(2). The Second Circuit has recognized the “strong judicial ‘policy in favor of
settiements, particularly in the class action context.” Kennedy v. Whitely, No. 3:16-cv-
02010, 2021 WL 4533198, at 3 (D. Conn. April 16, 2021) (quoting Wal-Mart Stores, Inc
v. Visa USA, Inc, 396 F.34 96, 116-17 (2d Cir’ 2005)).

The evaluation of a proposed settlement requires that the Court consider the
terms of the settlement and the negotiating process, and a geriera! policy favoring
settlement exists in class actions. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F. 3d
96, 114 (2d Cir. 2005). “The Secorid Circuit has held that a settlement analysis should
not serve as a “rubber stamp approval,” but need not involve the same detailed and
thorough analysis that would occur if trying the case. Detroit v. Grinnell Corp., 495 F.2d
448, 462 (2d Cir. 1974). :

“b. The Settlement Is Presumptively Fair

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A“presumption of fairness, adequacy and reasonableness may attach to a class
settlement reached in arm’s-lengih negotiatioris between experienced, capable counsel
after meaningful discovery:’ Wal-Mart, 396 F.3d at 116. Weight is given to the
recommendation of counsel involved in the litigation. A court may find the negotiations
fair where, as has occurred in this case, there was no collusion in the negotiations and
Plaintiffs’ counse! possessed the experience and ability to represent the interests of the
Settlement Class. D'Amato v.'‘Deulsché Bank, 236°F.3d 78, 85 (2d ‘Cir. 2001).

Both adequate repteseéntation and arm’s-length negotiation are present here,
satisfying the procedural inquiry. Plaintiffs and Plaintiffs’ Counsel have adequately
represented the Settlemeht Class during both the litigation of this action and its’
settlernent. There is no dispute as to these elements. Plaintiffs’ Counsel are ©
experienced in class actions and sexual abuse cases, and have vigorously advanced
this case through depositions. research, motion praciice, negotiations and‘cther efforts.
The Plaintiffs have involved themselves in all aspects of the case, Have’ been deposed
and have taken their roles seriously. The presumption of fairness and adequacy is
present here and not contratiistid by the evidence and process of this case. The
discovery conductéd and négytiations have been detailed in this Motion and prior filings,
demonstrating the:maiiner in which: Plaintiffs and Plaintiffs’ courisel have vigorously
worked to advance this éade and settle it in’a fair and adequate manrier on behalf of all
Settlement Class Members, The Séttlement is entitled toa presumption of firaSes by
this Court according te the Second Circuit standards.

c. The Settldrrient Meets Ali Requirements For Approval

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The Settiement satisfies all nine requirements ‘aid out by the Second Circuit in
Grinnell, 495 F.2d at 463. They are: (1) the complexity, expense and likely duration of
litigation, (2) the reaction of the:class to the settlement, (3) the stage of proceedings and
amount of discovery completed, (4) the risks of establishing liability, (5) the risks of
establishing damages, (8) the risks of maintaining the class through trial, (7. the ability
of the defendant to withstand a greater judgment, (8) the range of reasonableness of
the settlement in light cf-the best'pessible recovery arid (9) the range of reasonableness
of the settlement to a possible recovery in light of all of the attendant risks of fitigation.

In addition, the factors set forth in amendments to Rule 23(c), which overlap with
those in Grinnell, also favor finai approval. They are: (A) the class representatives and
class counse! have adequately represented the class; (B) the proposal was ‘negotiated
at arm's length, (C) the relief provided for the class is adequate, taking into account: (i)
the costs, risks and delay of trial and appeal: (ii) the effectiveness of any prodesed
method of distributing relief to the class, including the metiiod of processing class ~
member claims, (iii) the térms of ahy proposed award of attorney’s fees including timing
of payment and (iv) any acreément required to be identified under Rule 23(e)(3), which
there are nore in'this case, ds well as (D) the proposal treats class members equitably
relative to each othel.. °°"

Here, all factors are met. Regarding the Grinnell factors:

1) Complexity, Expense and Duration of Litigation: Had this case not
settled, the ifigeition would be anticipated fo be lengthy, complex and costly, which
would be detrimental to thé Plaintiffs; and the Settlement Clasé. Sée In re Advanced

Battery Techs., Inc., Sec. Litig., 298 ER.D. 171, 175 (S.D.N.Y. 2014) (which stands for

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the proposition that the compiexity, expense and likely duration of the case are critical
factors in evaluating whether the settlement is reasonable). ‘Here, there were numerous
anticipated challenges with regard to proving liability, causation and damages, which
would have required extensive discovery and expert testimony and expense, and likely
would have iasted for years, resulting in an uncertain recovery. One of the biggest
anticipated chailenges mas that the Defendant intended to contest class certification,
and would have likely sought the depositions of numerous potential class members, as
well as sought discovery on their claimed damages and whether they were caused by
the disclosure at issue ar'some other life event, including the molestation they ~
experienced as children.’ There would have been significant expenditures of tine and
resources, as well as cost associated with expert retention and testimony. It is highly
likely that'the case could have continued'for years and that recevery would be the same
or less (based on additional expenses for litigation). See Brazillian Equity Fund, Inc. v.
Bassini, 258 F. Supp. 2d 254° 261 (S.D.N.Y. 2003). This settlement realizes an
excellent recovery for each Settlement Class rnember in an efficient manner and without
risk. eS

2) The Reaction of the Class to the Settlement: This factor also ‘supports
approval of the Settlement’ As déscribed, there are 129 Settlement Class Members and
128 weré located and returned « completed Claim Forms, thereny attesting to their
support of the Settlemant and agreement to participate in it. Only ne ¢ould not be
located at this time. Thé’support was overwhelmingly positive. To date, only two
individuals have inquired as te whether they should be included in the Settiement Class,

and they have been informed that their names were not disclosed and they do not meet

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the criteria for inclusion. Any obiections, if trey are raised, may be addressed at the final
hearing. There-have been.no objections as of this date. The case law overwhelmingly
concludes that absence'bf abjections may be taken as evidence of fairness. /n re
PaineWebber Ltd., 171:F.R'D. 104, 126 (S.D.N.Y. 1997), aff'd, 117 F.3d 721 (2d Cir.
1997).

3) Stage of Proceedings and Discovery Completed: Here, as has been
described, substantial discovery has been ‘Completed; as well a8 research and retention
of an expert witness regarding causation and damages. The Plaintiffs, and Plaintiffs’ ’
Counsel, are well versed in the strengths and weaknesses of their clairns and have
spent considerable time evaluating the merits and likely recovery. In re Bear Stearns
Cos., Inc., 909 F. Supp. 2d 259, 267 (S.D.N.Y. 2012). They have sufficient information
to make informed decisions about the adequacy of the Settlement and note that it is an
exceptional recovery for each Settiement Class Member in light of the circumstances
and values in similar disclosure cases. Accordingly, they havé developed an.
understanding of the case to the extent'that they recognize the reasonableness of the
Settlement.

4) Risks of Establishing Liability: In this case, although some evidence
was obtained early on that would have been helpful in establishing liability of the
Defendant, there would have been a long road ahead, and many risks, in terms of
determining and proving the true extent of liability. See Grinnell, 495 F.2d at 463.
Specifically, there were nalieres raised early on by way of Motion to Dismiss that
would have needed to be litigated regarding whether the Defendant could in fact be held

liable for its conduct because of the contract it entered into with the Norwich Roman

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Catholic Diocesan Corperation in the underiying bankruptcy. There was a substantial
risk that, if the contract wes held to ba enforceable and binding cn the Plaintiffs in this
case, they would not be permitted to ‘pursue any recovery at ali. Thus, the Settlement
was, and is, a'safe, fair, and substantial recovery for the Settlement Class that avoided
the risks of proving liabil:ry and the great risk of dismissal of the action.

5) Risks of Estabtishing Damages: The Plaintiffs faced substantial risks in
providing damages as well” particularly in’ light of the fact that they, and the Settlement
Class Members, were al! survivors of childhood Sexual abuse and it would be argued
that their underlying abuse; and not the disclosure of their identities: was thé most
significant cause of any claimed damages. ‘Proof of damages is a complex matter and
could have required depbsitions of fiultipie: claimants and their mental health providers,
as well as retainedexperis” ‘As‘such, it wouid have been extremely difficuit to quantify
and prove that the damages the Plaintiffs suffered were caused by the disclosure itself,
as well as the amount of damages that would be sufficient to compensate them. ‘These
risks favor final approval: ‘ wa

6) Risks of Maintaining the Class through Trial: There can be no question
that this risk was substantial, particularly in that the Defendant indicated that it intended
to object to class certification on the-basis that the claims of the Piaintiffs and the
wgtential olbed members were ‘not substantially similar, as wel! as ‘other factors. The
Settlement eliminates any“such arguments and allows for al! Settlement Class Members
who experienced the sams harm to be treated equitably.

7) Defendani’s Ability to Withstand a Greater Judgment: The ability of the

Defendant to pay a substantial iudgment involving damages claimed for 129 individuals

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is highly uncertain and wouid be relevant to tne fairness of the Settlement reached.
Grinnel!, 495 F.2d at 463.’ Here, it is possible, but unknown, whether the Defendant
could pay a greater judgnient, but that must not be dispositive of whether this’
Settlement is fair because’all of the factors for final approval have beén satisfied.

8) Reasonableness of Settlement in Light of Best Possible Recovery
and Risks of Litigation: The iast two factors in Grinnell are encompassed in this
section and are ret in this Settierhent. The amount offered and agreéd upon after
extensive arm’s length negotiations is exceptional given the risks of the case, its
strengths and weaknesses.’ The Settlement falls within the “range of reasonableness”
that the Court should consider. PaineWebber, 171 F.R:D. at 130. The Settlement also
provides for payment to the Settlement Class Members in an’efficient and immediate
manner, rather than 129 individuals having to wait and struggle through what could be
years of litigation’ with an uncertain result. Thé Settlement represents an exceptional
recovery for all that is sectire and reasonable. Thus, ali Grinnei! factors have been met,
favoring approval of the Settlement:

In addition, regarding the Amended Rule 23(e)(2) requirements, those ‘have also
been met. As explained throughout this Memorandum and'prior filings, the Plaintiffs
and Plaintiffs’ Counsel have adéquately and vigorously represerited class members. -
They have worked Wduéthet te ensuré that all of the individuals harmed by this
disclosure are protected ind that their interests are considered: They have done so
through arm's length negotiations involving a Federal Magistrate Judge and multiple
representatives that were present to ensure their views and concerns were addressed.

The relief provided hére is adequate taking into account the likely costs, risks and

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delays of litigation, as discussed above. The proposed method of distrioution is fair and
reasonable ir; that it treats Settlement Class Members equitabiy and insures prompt
payment. As will be explained, Plaintiffs’ Counsel's request for attorneys’ fees and
expenses is reasonable and meets the factors set forth in the relevant case law. As a
result, the Settlement should be approved.

V. THE PLAN OF ALLOCATION OR DISTRIBUTION SHOULD ALSO BE
APPROVED AS IT !S FAIR AND REASONABLE —

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If the Court approves tne Settlement, it will be distributed to the Settlement Class

in accordance with the terms of the Stipulation and the Notice sent to Setttement Class
Members. In evaluating 2 plan for allocating settlement funds in a class action, the
Court must consider whether esuneal has properly assessed the merits of the claims
and whether the proposed apportionment IS fair and reasonable. PaineWebber, 171
F.R.D. at 133. ‘Experienced counsel's opinion carries’ weight. The allocation pian must
have a reasonable'basis’ as it’ does here.

Here, as the Stipulation lays out, the Defendant will pay into an Eséréw Account
a sum of $50,000 pet Settlement Class Member who submitted a timely Claim Form. In
addition, the Defendant will pay to each named Plaintiff a Service Award of $75,000
éach for their role as named Plaintiffs. Plaintiffs’ Counsel wili then deduct from the
Settlement Fund ahy Couif awarded Attorneys’ Fees’ and Litigation Expenses. The Net
Settlement Fund, what femiains, will be distributed ratably to Settlement Class Members
in a prompt fashion. No objections to this manner of allocation have been filed by any
Settlement Class Members of the attorneys that represent them in the underlying
Bankruptcy.’ Thus, these factors favor approval.

VI. AWARD OF ATTORNEYS’ FEES AND LITIGATION EXPENSES

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Plaintiffs’ Counsel a'so resvectfully eaBatG that this Court award its reasonable
esttaineyS Fees and Ligation Expenses incurred in prosecuting this case. Our Courts
have held that. a Titigant or attorney’ who recovers a sslilementor or common és fbr the
benefit of multiple iigertener claimants i is entitled to a reasonable attorney’s fee from
the fund. Boeing Co. v. Van Gemert, 444 US. 472, 478 (1986). This concept is well
established and supported by the case law because actions like this one could not be
sustained if plaintiffs’ counsel weré-not willing to take the tisks of litigation in anticipation
of a reasonable renumeration for their efforts on behalf of all claimants. Fresno City
Emps.’ Ret. Ass’n v. lsaacson,Weaver Family Trust, 925 F.3d 63, 68 (2d Cir. 2019). ©

In this’case, Plaintiffs’ Counsel seeks an award based cn actual time spent and
anticipated to be spent (to ‘finalize the Settlement and reach a conclusion of this case),
multiplied by a reasonable hourly rate normally charged for the attorneys, paralegals
and staff who actually Kote ‘on the case and documented their time accordingly.
Plaintiffs’ Counsel is seeking the exact amount of fees and is not seeking any
percentage of the total Settierhent or any lodestar enhancement or multiptier, as is _
permitted in this Circuit! Goldberger v. Integrated Res., Inc., 209 F.3d 43, 50 (2000).

Plaintiffs’ Counsel is prepared to submit time records documenting the amount of
time each employee, incivding attorneys, naralegals and staff, spent on this case and
are anticipated to spend to bring thé case to conclusion, should the Court desire to
review them. They will be brought to the Final Approval Hearing for review if necessary
and may be entéred as an exhibit if the Court desires. The total number of hours
Plaintiffs’ Counsel has spent thus far on this case is 320. Thé rates charged by

Plaintiffs’ Counsel and sought are as follows: (1) Paralegals, $159/hour: (2) Staff (Office

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Administrator/Finance Specialist), $150/hour;. (3) Attorneys, $550/hour for court time
and $400/hcur for office tirae: and (4) Senior Attorney, Robert]. Reardon, Jr., $750/hour
for court time and $650/haur for offi¢e time. These rates are feasonable; as is the time
spent.on this matter and the total amount of Attorney’s Fees reqitested, $140,712.50,
which amounts to 2% of the total settlement.

There are numerous cases in this District in which comparable hourly rates have
been considered reasonable. ir the case of In re Jacksorr (attached hereto as only a
Slip Copy is available); tie Barikruptey Court in this District considered hourly rates and
cited cases in which $695 ver hour, $500 per hour-and $400 per hour were reasonable
for Connecticut attorneys. In that case, the Court concluded that $500 per hour was
reasonable. Similarly, in‘O’Corinor v..AR Resources, Inc., 2012 WL 12743 (D.Conn.
Jan. 4, 2012), a case décidéd’more than ten years ago, the Court held that reasonable
hourly rates are in line with those prevailing in the community for similar Services by
lawyers of reasonably compatable skill, experience and reputation. /d. at *8 (citing Blum
v. Stenson; 465 U.S. 885, 895 ( 1984). As the Court detailed in Jackson, attached, rates
in the range of nearly $7€0 down to $400 an hour for Connecticut attorneys are well
within the range of fcasoriabiériése, It Should be noted that, to the extent that Attorney
Robert !. Reardon, Jr, chaigés'$76G/hout for court time arid $650/hour for office time,
he has been in practice for 53 years, is highly skilled and qudified and his decades of
expertise should be taken into corisideration in terms of his’ reasonable hourly rate.

auenGH fees iri claSs action/common fund cases’such as this one may be »
based on a per centage 0 oft he total settlement, but may also be based on actual time

spent multiplied by a reasona ble hourly rate. Here, the total! requested by Plaintiffs’

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Case 3:23-cv-00154-WIG Document 71 ‘Filed 10/19/23 Page 16 of 27

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Counsel amounts to both a reasonable percentage of the total settlement and a
reasonable sum based on hours worked anid the claimed houriy rate. See Goldberger,
Fi3d at 48-50. Gib eoates upheld basis, the total soughit'is very low as”
compared to other similar'cases, in wich counsel typically seeks up to one-third (33%)
of the total fund, and is an eminently reasonable sum to compensate Plaintiffs’ Counsel,
who is highly experienced and has devoted hundreds of fours 6 this case, for the work
done. See Bium v. Stenson, 465 U.S. 686 (1984).° In addition, thé Plaintiffs in this case
wholly support this request for fds and consider it reasonable and warranted given the
work performed. it is welt Helow ihe range’ permitted in other cases by other courts in
the Second Sire Maley v. Del Glob. Techs. Corp., 186 F Subp: 2d 358,370
(S.D.N.Y. 2002).. Because no lodestar enhancement is being sought here (an
adjustment permitted in our courts to refiect such factors as the risk and contingent
nature ofthe litigation and’resu'ts obtained), there is no need for & iodestar calculation.
Rather, the fees Sought are Well under the rangé typically sought. —

Should the Court corisider'the Goidberg factors; as has been done in the Second
Circuit, these aiso demonstrate that the fee requested is reasonable and anprepdute.
The factors are: (1) the time and labor expended by counsel; (2) the magnitude and
complexities of the litigation; (3)'the risks of the litigation . .-' (4) the quality‘of the
representation; (5) the requested fee in rélation to the settlement, and (6) public policy
concéms! /é:%at'50. ‘These fhotsri Support approval.

The work performéd Was-substantial’ Since the lawsult was prepared and filed,
muitiple motions, objections; declarations and other cour! decuments have been

prepared, edited and filed.’ Plaintiffs’ Counsel prepared and disclosed answers to

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i Attorneys at Law
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on, -~

interrogatories and requests for production, attended depositions, met with clients,
retairied and conferred with an expert witness. prepared for and heid a mediation,
prepared multiple ‘complex documents regautiit the ecffeinent administered the
settlement and claim forms, ensured the confidentiality and protection of the identities of
all members of the Settlement Class, worked with other attorneys to ensure the case
and settlement progressed quickly and efficiently and handled all of the complex legal
issues encountered with expertise. To date, 320 hours have’ been Spent prosecuting this
case. It is anticipated: that an additional’30 hour rs wili be necessary to finalize ’the
settlement (including ane attorney, a garaiegal and a financial administrator).

-- The litigation panels and was a risky enadaver which could have resulted in
no recovery or little recovery at all.’ Many complex legal issues were faced and had to
be briefed and argued. Defense counsel was highly capabie and raised legitimate
defenses that had to be overcome in order to achieve a settlement. The tepresentation
was ‘high quality and’ Plaintiffs’ Counsel is known in the field of'personal injury, sexual
abuse and ciass action litigation ‘in the State of Connecticut and throughout the
Northeast as‘a skillful firm with substantial expertise and experiénceé: The amount of the
settlement and the efficiency with which Plaintiffs’ Counsei achieved it are a testament
to that,’as is the very smal! percentage of the total settlement that counsel requests
here. It should finally be ioiad that no Settlement Class Member has raised any
objection to a claim for atiorney’s fees by Plaintiffs’ Counsel,;which was discussed in the
Notice sent cut to all 129: - Any‘objections to this specific filing can be ‘addressed at the
Final Approval Hearing; ifthey are raised. Thue, Plaintiffs’ Counsel respectfully requests

that the Court award its reasonable attorney’s fees.

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Case 3:23-cv-00154-WIG Document 71 Filed 10/19/23 Page 18 of 27 -

-~ -~
In addition, Flaintiffs’ Counsel request reimbursement for litigation expenses,
which are reasonable and were necessary .0 effectuate tne case and settiement, in the
amount of $11,832.56. These costs aré itemized in’ Plaintiffs’ Couieet's Decidration,
filed simultaneously. They maces court filing costs, marshal service fees, research
expenses, retention anc use of an expert witness, deposition transcripts, fees for
postage and mailings, and other small miscellaneous expenses. The Notice to the
Settlement Class made clear that Plaintifis’ Counsel would sesk reimbursement of
expenses, and no one has‘objécted-to this tequest to date. They are permitted in this
Circuit and are well within the range of those allowed in this type of case and, in fact,

are exceptionally low given the work done. As a result, Plaintiffs’ Counsel requests that

they be awarded.

‘Vil. THE NAMED PLAINTIFFS’ SERVICE AWARDS SHOULD BE GRANTED
AS THEY ARE REASONBLE
The Named Plaintiffs; John Doe #1 and John Doe # 2, also request Service
Awards in addition to their $50,000 settlements, of $75,000 each for the work they
performed in this case. These sums are reasonable and permitted by the Court. See
e.g., In re Am. Int’! Grp., Inc. Sec. Litig., No. 04 Civ 8141 (DAB), 2019 WL 5060697
(S.D.N.Y. Dec. 2, 2010). The awards of $75, 006 each: are meant to compens sate the
Lead Plaintiffs for their time, effort, and commitrnent to this case. Each spent many
hours in deposition, coordiriating with ‘Plaintiffs’ Counsel about this case, providing
feedback and input, atter\ding the médiation and consulting about issues that arose.

Each devoted time from their busy schedules and missed work and other family

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on on
commitments due to this case. As such, the modest Service Awards requested would
be appropriate ta compensate them in this case and are respectfully requested.
Vill. CONCLUSION
For the foregoing reasons, and based on the entire record before this Court, the
Plaintiffs respectfully request that the Court grant final approval of this Settlement and

distripution plan, as well as award the attorney's fees and expenses requested and the

Service Awards sought’ “" Be Be Ok”

THE PLAINTIFFS,

By: Le
Kelly E. Reardon (ct28441)

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(iam, _,

CERTIFICATE OF SERVICE

| hereby certify that, on October 19, 2023, ! caused the foregoing motion to be
filed with the Court's electronic case filing system (ECF), which will provide notice of its
filing electronically to all counsel of record in this action.

THE PLAINTIFFS,

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In re Jackson, Slip Copy (2023)

2023 WL 2202738
Only the Westlaw citation is currently available.
United States Bankruptcy Court, D. Connecticut,
New Haven Division.

IN RE: Curtis James JACKSON, IT, Debtor
Curtis James Jackson, III, Plaintiff
Vv.
GSO Business Management, LLC, Jonathan
Schwartz, Michael Oppenheim, Bernard Gudvi,
Nicholas Brown, and William Braunstein, Defendants

CASE NO.: 15-21233 (AMN)
Adv. Proc. No. 17-2068
|
Signed February 23, 2023

Attorneys and Law Firms

Imran H. Ansari, Joseph P. Baratta, Baratta, Baratta & Aidala,
LLP, New York, NY, James Berman, Christopher H. Blau,
John L, Cesaroni, Zeisler & Zeisler, P.C., Bridgeport, CT, for
Plaintiff Curtis James Jackson, III.

Ilan Markus, Barclay Damon LLP, New Haven, CT, for
Defendant GSO Business Management LLC.

AP-ECF Nos. 371, 379, 389, 390

MEMORANDUM OF DECISION AND
ORDER DETERMINING AWARD
OF ATTORNEY'S FEES AND COSTS

Ann M. Nevins, Chief United States Bankruptcy Judge

*1 Before the court is the determination of the amount
of attorney's fees and costs to be awarded to the plaintiff,
Curtis James Jackson, II (Mr. Jackson”) and payable by
the defendant, GSO Business Management, LLC (“GSO”)
as it relates to the judgment entered against GSO. The
court assumes the parties’ familiarity with the procedural
history of this case including the history recited in the court's
Memorandum of Decision and Order After Trial issued on
August 29, 2022, (the “Decision”). AP-ECF No. 371. The

Number
of Hours

Attorney

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court employs the same defined terms in this Order as used
in the Decision.

In the Decision, the court entered judgment in favor of Mr.
Jackson as to the Bankruptcy Related Fee Claim, but in
favor of GSO as to the $90,000 Monthly Fee Claim and

the Fire § 1398 Claim. AP-ECF No. 371. In relation to
the Bankruptcy Related Fee Claim, the court ordered GSO
to disgorge $88,692.51, plus post-judgment interest, on or
before September 30, 2022, for its knowing and unauthorized
withdrawal of funds from Mr. Jackson's DIP account in
violation of the Retention Order. AP-ECF No. 371, p. 47.
In addition to disgorgement, the court awarded Mr. Jackson
attorney's fees and costs related to the Bankruptcy Related
Fee Claim in an amount to be determined, AP-ECF No. 371,
p. 61-62. On September 29, 2022, GSO remitted $88,945.61
to Mr. Jackson representing the disgorgement of $88,692.51,
plus $253.10 in post-judgment interest. AP-ECF No. 379.
After Mr. Jackson's submissions supporting an award of
attorney's fees and costs and GSO objections, the court heard
argument on that supplemental issue on February 7, 2023. AP-
ECF No. 396.

Mr. Jackson's Attorney Fee Request

Mr. Jackson seeks an award of $236,565.00 of attorney's fees
and $4,148.47 of costs, totaling $240,713.47. To support this
request, Mr. Jackson submitted a statement detailing the time
incurred by Mr. Jackson's counsel - Joseph P. Baratta and
Imran H. Ansari - in prosecuting this adversary proceeding
from September 10, 2017, through August 29, 2022, (the

“Statement”). AP-ECF Nos. 389-1, 389-2'. Notably, the
Statement is not an invoice of attorney's fees and costs billed
to Mr. Jackson, but rather, a cultivated list of time entries
specifically sought as part of this award. The Statement did
not include any time incurred by any paralegal staff, time or
expenses incurred related to expert depositions related to the

ire § 1398 claim, or local counsel's fees. AP-ECF No.
389-1.

*2 The Statement reflects attorney's fees totaling
$394,275.00. AP-ECF No. 389-1, p. 14. The attorney's fees
of $394,275.00 are broken down between Attorneys Baratta
and Ansari in the following chart.

Rate Attorney's

Fees

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In re Jackson, Slip Copy (2023)

Ansari 346.8
Baratta 178.9
Total 525.7

Because the court limited any award to the fees related
to the Bankruptcy Related Fee Claim, Mr. Jackson asserts
sixty (60%) percent of the $394,275, or $236,565, should be
awarded as attorney's fees. Mr. Jackson asserts sixty (60%)
percent represents a rough estimation of the amount of time
incurred prosecuting the Bankruptcy Related Fee Claim. AP-

ECF No. 389, p. 6. During the February 7 th hearing, Attorney
Ansari expanded on the rationale for the estimate, noting the
adversary proceeding originally consisted of two claims, the

mirc § 1398 Claim and the $90,000 Monthly Fee Claim,
and the time incurred on the unsuccessful $90,000 Monthly
Fee Claim ultimately brought to light and attributed to the
Bankruptcy Related Fee Claim. AP-ECF No. 396, p. 10, L.
2-15, p. 12-13.

The Statement reflects costs for this adversary proceeding
totaled $15,214.13. However, approximately $8,300 is
attributable to expert discovery related specifically to the

Frc § 1398 claim, leaving $6,914.13 for expenses
generally. From this amount, Mr. Jackson seeks sixty (60%)
percent equaling $4,148.47 as an award of costs.

Mr. Jackson asserts his counsel's $750 per hour rate 2 is
reasonable and customary for partner rates in New York City,
especially in the bankruptcy context. AP-ECF No. 389, p. 6.
During the hearing, Attorney Ansari posited the $750 hourly
rate would be reasonable in the Second Circuit generally. AP-
ECF No. 396, p. 14, L. 4-13. Mr. Jackson cited the following
cases as support for reasonableness of the $750 hourly rate:

. Fai, re Nissan Radiator/Transmission Cooler Litig.,
2013 WL 4080946 (S.D.N.Y. May 30, 2013)(court
approved a class action settlement involving Nissan
vehicles that included a $1,620,000 attorney's fee award.
The court concluded hourly rates ranging from $795
(partner) to $650 (associate) fell within the prevailing
market rates for class counsel offering similar services);

. Fa, re Telik, Inc. Sec. Litig., 576 F.Supp. 2d 570,
589 (S.D.N.Y. 2008)(court noted, “[plerhaps the best
indicator of the “market rate” in the New York area

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$750.00 $ 260,100.00
$750.00 $ 134,175.00
nanan nee $ 394,275.00

for plaintiffs’ counsel in securities class actions is to
examine the rates charged by New York firms that defend
class actions” and concluding rates ranging from $700 to
$750 per hour fell within the norm of the rates charged
by those attorneys’ common adversaries in the defense
bar.); and

* PS sare v. Change Group of New York, Inc., 2013 WL
6144764 (S.D.N.Y. November 18, 2013)(court found
$750 per hour for partners and $500 per hour for senior
associates reasonable for class counsel in a class action
based upon violations of the Fair Labor Standards Act
and New York Labor Law).

AP-ECF No. 389.

All of these cases deal with attorney rates for complex,
specialized class action litigation in the Southern District of
New York. Two of the decisions are nearly a decade old, and
none deal with bankruptcy-related claims.

*3 In additional support of the rate, Mr. Jackson directed
the court to an article published on July 28, 2022, by
The American Lawyer entitled “As Billing Rates Skyrocket,
Historic Fee Leaders Find Company at $2,000 per Hour.” AP-
ECF No. 389. The article discussed how the nation's top four
bankruptcy firms charge, on average, $1,838 per hour for top
level partners involved in complex, large scale Chapter 11
bankruptcy cases. AP-ECF No. 389.

When questioned about the rate during the hearing held on
February 7, 2023, Attorney Ansari maintained the rate was
reasonable because a client can choose their counsel.

Court: What is the evidence of the going rate for
attorneys pursuing this type of a claim in the District of
Connecticut?

Ansari: Your Honor, well I'm not prepared to answer that
question right now.

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In re Jackson, Slip Copy (2023)

Court: Why should I consider the going rate in any district
other than Connecticut?

Ansari: Your Honor, I would -- a litigant has their choice
of counsel.

Ansari: Well, Your Honor, we had an agreement with Curtis
J. Jackson in terms of our representation on our fees.

AP-ECF No. 386, p. 5, L. 18-22, p. 6, L. 1-4.

The Statement reflects numerous instances of Attorneys
Baratta and Ansari incurring time for the same task. Mr.
Jackson contended the work of two attorneys was reasonable
and necessary to counter GSO's extensive defense to Mr.
Jackson's claims. Mr. Jackson also notes GSO employed two
firms (lead counsel - Freeman, Mathis & Gary, LLP, and local
counsel, Barclay Damon, LLP) to defend its interests. AP-
ECF No. 389, p. 5.

GSO's Objection

GSO objected to the requested fees and costs on a number
of grounds including: 1) the sixty (60%) percent allocation
is arbitrary and not tailored to actual time spent on the
Bankruptcy Related Fee Claim; 2) the hourly rate of $750
is unreasonable and not customary for hourly rates charged
in this District for similar services; and 3) the time records
contain excessive and redundant billing by two attorneys and/
or vague entries warranting an across-the-board reduction.
AP-ECF No. 379.

GSO asserted the focus of this adversary proceeding was not

the Bankruptcy Related Fee Claim but rather the Flirc §
1398 Claim. AP-ECF No. 390. During the hearing, GSO's
counsel argued allocating sixty (60%) percent of the fees to
the $90,000 Monthly Fee Claim, and hence, the Bankruptcy
Related Claim, was not grounded in a division of the actual
time spent and would result in an award compensating for
time spent on the unsuccessful $90,000 Monthly Fee Claim.
AP-ECF No. 396, p. 18-19.

GSO objected to the hourly rate of $750 asserting it does not
fall within the prevailing market rates. AP-ECF No. 390, p.
6-7. In support of its objection, GSO submitted an affidavit
from its local counsel, Attorney Ilan Markus, attesting a rate

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of $425 per hour is reasonable for this District. AP-ECF No.
381.

Lastly, GSO argued the amount of attorney's fees sought
should be significantly reduced due to an excessive number of
vague entries lacking in specificity. As part of this argument,
GSO noted the Statement is rife with examples of Attorneys
Ansari and Baratta doubling billing for the same work. AP-
ECF No. 390, p. 6-7. Additionally, GSO filed a declaration
from its lead counsel, Attorney Thomas McCraw, attesting
to Attorney Baratta's and Ansari's inflation of time incurred

for depositions compared to his own time spent. AP-ECF No.
380.

APPLICABLE LAW

The Presumptively Reasonable Fee Approach

As noted in the Decision, the court exercises its authority

pursuant to P2pankruptey Code § 105(a) to award the
Plaintiff attorney's fees and costs to enforce the provisions of
Bankruptcy Code § 330 and Fed.R.Bankr.P. 2016. AP-ECF
No, 371, p. 48. In exercising its considerable discretion to
fashion an award, the court will consider what is reasonable.
“In the Second Circuit, attorney's fees awards are calculated
based on the ‘presumptively reasonable fee’ approach.”
McGaffigan v. City of Rochester, 21-CV-6545-FPG, 2023
WL 415098, at *1 (W.D.N.Y. Jan. 26, 2023). Under this
approach, a court “determines attorneys’ fees by ‘setting a
reasonable hourly rate, taking account of all case-specific
variables’ and multiplying that rate by the number of hours
expended.” Wachovia Mortg., FSB v. Toczek, 841 Fed. Appx.

267, 269 (2d Cir. 2021) (summary order)(citing, P3 arbor Hill
Concerned Citizens Neighborhood Ass'n v. County of Albany
and Albany County Bd. of Elections, 522 F.3d 182, 190 (2d
Cir. 2008)).

The Reasonable Hourly Rate and The Forum Presumption

*4 A reasonable hourly rate is generally “the rate a paying
client would be willing to pay,” bearing in mind “that a
reasonable, paying client wishes to spend the minimum

necessary to litigate the case effectively.” F2 arbor Hill, 522
F.3d at 190. “In assessing a reasonable hourly rate, the court
takes into consideration the market rate prevailing in the

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In re Jackson, Slip Copy (2023)

community for similar services by lawyers of reasonably
comparable skill, experience and reputation.” Bozdogan v, 23
Ludlam Fuel, Ine., 16-CV-1053 (IMW), 2022 WL 17987044,
at *3 (E.D.N.Y. Dec. 29, 2022)(internal citations omitted).
The relevant community is the district in which the reviewing

court sits. This is known as the “forum rule.” See, Pe scons
v. NYC Transit Auth., 575 F.3d 170, 174-75 (2d Cir. 2009).
“The party applying for fees must support the hourly rates
it claims with, for example, evidence of counsel's expertise
and prevailing market rates.” Gesualdi v. Bestech Transp.,
LLC, No, 14-CV-1L1L1L0(JS)ARL), 2022 WL 866853, at *2

(E.D.N.Y. Mar. 23, 2022)(internal quotations omitted), A
“court may determine the reasonable hourly rate by relying
both on its own knowledge of comparable rates charged by
lawyers in the district” and “on evidence proffered by the
parties.” Congregation Rabbinical College of Tartikov, Inc.,
188 F. Supp. 3d at 338 (internal citations omitted).

The Second Circuit Court of Appeals noted a court may apply
out-of-district rates if it was clear that a reasonable, paying
client would have paid those higher rates.

[A] district court may use an out-of-district hourly rate —
or some rate in between the out-of-district rate sought and
the rates charged by local attorneys — in calculating the
presumptively reasonable fee if it is clear that a reasonable,
paying client would have paid those higher rates. We
presume, however, that a reasonable, paying client would
in most cases hire counsel from within his district, or at
least counsel whose rates are consistent with those charged
locally. This presumption may be rebutted — albeit only in
the unusual case — if the party wishing the district court
to use a higher rate demonstrates that his or her retention
of an out-of-district attorney was reasonable under the
circumstances.

Fl srbor Hill, 522 F.3d at 191.

Courts in this District have assessed fees using out-of-district
rates when called for by the circumstances of the particular
case. See, Horror Inc. v. Miller, 3:16-CV-1442 (SRU), 2022
WL 4473426, at *5 (D. Conn. Sept. 26, 2022)(District Court
of Connecticut assessing Southern District of New York rates
because counsel was a member of that Bar, the vast majority
of copyright litigation in this Circuit is conducted that District,
and most clients litigating complex copyright matters hire
counsel from that District).

A court may adjust the base hourly rates to account for a
variety of case-specific factors, including:

(1) the time and labor required;
(2) the novelty and difficulty of the questions;

(3) the level of skill required to perform the legal service
properly;

(4) the preclusion of employment by the attorney due to
acceptance of the case;

(5) the attorney's customary hourly rate;
(6) whether the fee is fixed or contingent;

(7) the time limitations imposed by the client or the
circumstances;

(8) the amount involved in the case and the results obtained;
(9) the experience, reputation, and ability of the attorneys;
(10) the “undesirability” of the case;

(11) the nature and length of the professional relationship
with the client; and

(12) awards in similar cases.

Paziny v. City of New York, 934 F.3d 222, 228 (2d Cir.
2019)(noting the Johnson factors derived from the case,

Pi ictnsan v. Georgia Highway Express, Inc., 488 F.2d
714 (5th Cir. 1974)),

The Reasonable Number of Hours Spent

*5 When evaluating hours spent, a court must make
“a conscientious and detailed inquiry into the validity of
the representations that a certain number of hours were
usefully and reasonably expended.” Kastrati v. M.E.G. Rest.
Enterprises Ltd., 1:21-CV-00481 (KHP), 2023 WL 180043,
at *2 (S.D.N.Y. Jan. 13, 2023). However, a court “need not,
and indeed should not, become green-eyeshade accountants.
The essential goal ... is to do rough justice, not to achieve

auditing perfection.” Farox v. Vice, 563 U.S. 826, 838
(2011)(court may consider its overall sense of the case and
may use estimates in calculating and allocating an attorney's
time.).

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In re Jackson, Slip Copy (2023)

A court may adjust the number of hours to account for items
that are “excessive, redundant, or otherwise unnecessary” or
for “vagueness, inconsistencies, and other deficiencies in the
billing records.” Horror Inc., 2022 WL 4473426, at *7 (citing,

Flkirsch v. Fleet St., Ltd, 148 F.3d 149, 172-73 (2d Cir.
1998)). “Courts in this Circuit have levied various across-the-
board reductions in the total number of requested hours based
on vague entries.” Grano v. Martin, No. 19-CV-6970, 2021
WL 3500164, at *5 (S.D.N.Y. Aug. 9, 2021)(reducing fees
by 10% across the board reduction); see also, Wei v. Sichuan
Pepper, Inc., 3:19-CV-00525 (JBA), 2022 WL 385226, at
*20 (D. Conn. Jan. 17, 2022), report and recommendation
adopted sub nom. Wei v. Sichuan Pepper, 3:19-CV-525 (JBA),
2022 WL 382019 (D. Conn. Feb. 7, 2022)(applying a 15%
reduction to account for excessive time expended); Mason
Tenders Dist. Couns. Welfare Fund vy. LJC Dismantling Corp,
No. 17-CV-4493, 2020 WL 9600111, at *13 (S.D.N.Y. Dec.
14, 2020)(reducing award by 15%).

The Division of Fees Between Claims

“(Ifa plaintiff prevails on a claim that generates a fee award,
[s]he may recover for work done on other claims if they were
substantially related to the claim on which [s]he prevailed.”

PS sranczyk v. City of New York, 990 F. Supp. 2d 242, 251

(E.D.N.Y. 2013), aff'd, P3752 F.3d 273 (2d Cir. 2014); see
also, Saleh v. Pretty Girl, Inc., 09-CV-1769 (RER), 2022
WL 4078150, at *30 (E.D.N.Y. Sept. 6, 2022)(“because his
state-law claims were based on the same events giving rise
to [his] federal claims,” and because his counsel's time is not
easily divisible on a claim-by-claim basis, the Court considers
his attorneys’ contributions to the litigation as a whole.”);
Crews v. County of Nassau, 06-CV-2610(JFB)(GRB), 2019
WL 6894469, at *6 (E.D.N.Y. Dec. 18, 2019)(“plaintiff's lack
of success on some of his claims does not require the court
to reduce the lodestar amount where the successful and the
unsuccessful claims were interrelated and required essentially
the same proof.”).

DISCUSSION

Determining a Reasonable Hourly Rate

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The hourly rate of $750 is not reasonable here, although
that rate and higher rates have been allowed in complex
bankruptcy cases in this District. The Second Circuit directs
me to evaluate reasonable hourly rates for a case of this type
based upon prevailing rates in the District of Connecticut.

See, Pa simmons v. NYC Transit Auth., 575 F.3d 170. Since
the Plaintiff has not offered a persuasive basis to apply out-
of-district rates, I will consider rates charged by counsel of
similar expertise in Connecticut. The only evidence provided
by the parties of the prevailing rates in Connecticut is
Attorney Markus's affidavit attesting he charges a rate of $425
per hour. Beyond just this evidence, I am aware of, and can
consider, the range of hourly rates awarded in similar cases
in this District. See, Bonnie Mangan, Chapter 7 Trustee v.
Wells Fargo Bank, N.A. D/B/A Wells Fargo Card Services,
Case No. 21-3006 (AMN), Order Imposing Sanctions, ECF
No. 64 (concluding $400 per hour reasonable for Attorney
Tara Trifon, partner at Locke Lord); In re Simone, 18-21993
(JIT), 2022 WL 1923278, at *2 (Bankr. D. Conn. June 3,
2022)(finding hourly rate of $565 reasonable for Attorney
Irve Goldman, chair of the bankruptcy, creditors’ rights, and
financial restructuring practice at Pullman & Comley); Jn re
Jackson, 15-21233 (AMN), 2020 WL 718609, at *4 (Bankr.
D. Conn. Feb. 12, 2020)(concluding $325 per hour reasonable
for Attorney John Cesaroni, then an associate, now currently
a partner at Zeisler & Zeisler, P.C.). I am also aware of
the hourly rates charged by attorneys in some of the more
complex Chapter 11 cases pending recently in this District,
including:

*6 * $695 per hour for Attorney Patrick Birney, partner at
Robinson & Cole, LLP as debtor's counsel in Jn re The
Norwich Roman Catholic Diocesan Corporation, Case
No. 21-20687 (JTT);

* $450 per hour for Attorney Douglas Skalka, a principal
of Neubert, Pepe & Monteith, P.C., as local counsel to
the Chapter 11 Trustee in Jn re Ho Wan Kwok, Case No.
22-50073 (JAM);

* $400 per hour for Attorney Jeffrey Sklarz, partner at
Green & Sklarz, LLC, as local counsel to debtors in Jn re
The Rosegarden Health and Rehabilitation Center, LLC,
jointly administered under Case No. 18-30623 (AMN);

* $500 per hour for Attorney James Berman, partner at
Zeisler & Zeisler, P.C., as counsel to debtors in /n re
Servicom, LLC, jointly administered under Case No.
18-31722 (AMN).

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In re Jackson, Slip Copy (2023)

Based upon the prevailing rates ranging from $400 to $695
per hour in this District, I conclude a reasonable hourly rate
for the Bankruptcy Related Claim is $500 per hour. I reach
this conclusion after also considering whether any of the
Johnson factors warrant increasing or decreasing the rate, The
claim at issue - the Bankruptcy Related Fee Claim - did not
present a novel or particularly difficult question of fact or
law. Rather, the claim was more akin to any claim seeking
damages stemming from the violation of a court order. The
fact that this adversary proceeding included a malpractice

component - the irc § 1398 claim - is insufficient for me
to conclude it was sufficiently complex to require a rate higher
than those prevailing in this District. Notwithstanding the fact
the claim appeared straight-forward, I credit the experience
and reputation of Attorneys Ansari and Baratta and how they
may be able to command a higher customary hourly rate for
litigation within New York. Nonetheless, J conclude $500 per
hour is a reasonable rate for a case of this complexity and
nature in this District.

Calculating a Reasonable Amount of Hours

Mr. Jackson's counsel expended 525.70 hours in prosecuting
this case. Mr. Jackson asserted sixty (60%) percent of the
time, or 315.4 hours, should be awarded as reasonable. GSO
objected that the percentage is arbitrary and does not align
with the focus of the litigation. Mr. Jackson's counsel noted
they originally considered the case as having two claims:

the “tax claim” (aka the Faire § 1398 Claim) and the
“taking money claim” (aka the $90,000 Monthly Claim).
His counsel believed it was fair to attribute sixty (60%)
percent of their time to the “taking money” claim. I agree
sixty (60%) percent appears reasonable. I am unpersuaded
awarding the entire sixty (60%) percent is arbitrary or unfairly
compensates for time incurred on the unsuccessful $90,000
Monthly Fee Claim, a claim involving similar circumstances
as the Bankruptcy Related Fee Claim. Both claims involved
a common set of facts and related to the interpretation of
the Retention Order. And, the work done regarding the
$90,000 Monthly Fee Claim, including time incurred for
discovery and depositions, ultimately aided in the assertion
of the Bankruptcy Related Fee Claim. I decline to establish
a different percentage or apply any downward adjustment to
the number of hours expended on that basis.

*7 However, I conclude a fifteen (15%) percent across-
the-board reduction is warranted due to vague and excessive
billing entries. The court's independent assessment of the
billing records revealed a number of vague entries lacking
in sufficient description for the court to determine their
reasonableness. In particular, several time entries starting in
July of 2021, simply state “Trial preparation” providing no
insight as to Attorney Ansari's actual tasks. Additionally, a
reduction is warranted based upon the instances of duplicative
billing by Attorneys Ansari and Baratta. The following is a
non-exhaustive list of examples of what I view as duplicative
billing of tasks not necessitating two attorneys.

* 2/12/2018 - “Office discussion re: hearing continued
pursuant to the order granting the motion to amend
scheduling order re: complaint filed by Client.” Attorney
Ansari and Attorney Baratta each billed 0.5 hours for a
total of | hour to discuss a hearing being continued. AP-
ECF No, 389-1, p. 6.

* 3/9/2018 - “Preparation for and attendance at continued
Pre-Trial Conference” - Attorney Ansari and Attorney
Baratta each billed 5 hours for a total of 10 hours. No Pre-
Trial Conference was held on March 9, 2018, a Pre-Trial
Conference had been scheduled for March 14, 2018, but
was continued on March 21, 2018, by Order dated March
9, 2018. AP-ECF No. 389-1, p. 6.

* 11/27/2019 - “Review of scheduling order regarding the
unsuccessful mediation and that a schedule is required
for resolution of the complaint ...”’ The remaining portion
of the time entry recites the deadlines in the scheduling
order but does not provide any insight as to what tasks
counsel engaged in beyond review. Attorney Ansari and
Attorney Baratta each billed 1.3 hours for a total of 2.6
hours to review a Scheduling Order. AP-ECF No. 389-1,
p. 8-9.

* 7/25/2021 - “Review of scheduling order re: trial dates.”
Attorney Ansari and Attorney Baratta each billed 0.5
hours for a total of | hour. AP-ECF No. 389-1, p. 12. The
Scheduling Order discussed in this entry is found at AP-
ECF No. 291 and listed continued trial dates after having
been provided those dates by counsel.

In light of these excessive and vague entries a fifteen (15%)
percent reduction is warranted to reach a reasonable number
of hours for this case. After applying the reduction, I conclude
268.1 hours is reasonable for the Bankruptcy Related Fee
Claim.

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In re Jackson, Slip Copy (2023)

The Award of Attorney's Fees and Costs

Having determined the reasonable hourly rate ($500) and the
reasonable number of hours (268.1), I conclude Mr. Jackson
is entitled to an award of attorney's fees of $134,053.50. Since

Mr. Jackson removed costs associated with the FJirc § 1398
claim and because GSO failed to raise any specific objection
to the costs now sought, I conclude the costs of $4,148.47 are
reasonable.

A separate, supplemental judgment respecting only the award
of attorney's fees and costs will enter.

Accordingly, it is hereby

ORDERED; Curtis James Jackson, III, is awarded attorney's
fees and costs totaling One Hundred and Thirty-Eight
Thousand, Two Hundred and One ($138,201.97) Dollars and
97/100 Cents as a part of the Judgment entered in favor
of Curtis James Jackson, III, and against GSO Business
Management, LLC related to the Bankruptcy Related Fee
Claim; and it is further

ORDERED: GSO Business Management, LLC shall pay the

awarded attorney's fees and costs to Curtis James Jackson, III,
on or before April 15, 2023.

All Citations

Slip Copy, 2023 WL 2202738

Footnotes

Attorney Ansari and Attorney Baratta each submitted a declaration indicating the attorney's fees and costs
sought were based upon the second amended billing statement attached to the declaration. AP-ECF Nos.
389-1, 389-2. Each declaration detailed how the fees and costs being claimed had been reduced from the
original statement of attorney's fees, AP-ECF No. 378, to remove fees and costs associated with the expert

depositions pertaining to the Fairc § 1398 Claim. AP-ECF Nos. 389-1, 389-2.

The court notes the $750 per hour rate appears to be a rate chosen by Mr. Jackson's counsel for the purposes
of this award, and not the actual rate charged to the client. See, AP-ECF No. 389-1, p. 15 (“the attorney hourly
billing rate has been reduced to $750 per hour from standard billing rates as per agreement with Client.”). No
information was provided as to the amount of attorney's fees actually charged to Mr. Jackson.

“Ideally, included in the fee applicant's submissions should be affidavits providing information as to the
credentials of each attorney seeking reimbursement and an affidavit by a disinterested local practitioner
attesting to the relevant prevailing market rates.” Congregation Rabbinical College of Tartikov, Inc. v. Village
of Pomona, 188 F. Supp. 3d 333, 338 (S.D.N.Y. 2016).

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